         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 1 of 43




                          UNITED STATES DISTRICT COURT
                               DISTRICT OF IDAHO


 Gabriel Rench; Sean Bohnet; and Rachel                   Case No. ____________________
 Bohnet,

                        Plaintiffs,
 vs.
                                                                Complaint
 City of Moscow, a political subdivision of
 the State of Idaho; City Supervisor Gary                    Jury Demanded
 Riedner, individually and in his official
 capacity; Mia Bautista, Moscow City
 Attorney, individually and in her official
 capacity; Elizabeth Warner, Moscow City
 Attorney, individually and in her official
 capacity; James Fry, Moscow, Idaho Chief
 of Police, individually and in his official
 capacity; Will Krasselt, Moscow, Idaho
 police officer, individually and in his official
 capacity; Carlee Brown, Moscow, Idaho
 police officer, individually and in his official
 capacity; and Jake Lee, Moscow, Idaho
 police officer, individually and in his official
 capacity,

                        Defendants.


       The Plaintiffs Gabriel Rench, Sean Bohnet, and Rachel Bohnet for their Complaint

make the following allegations:

                                           Introduction

       City of Moscow, Idaho law enforcement officers arrested Plaintiffs Gabriel Rench,

Sean Bohnet, and Rachel Bohnet during a religious assembly to peacefully protest certain

City restrictions imposed regarding a public health emergency order. The Plaintiffs failed to

wear masks during a protest against the order requiring the wearing of masks and to socially
          Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 2 of 43




distance. Law enforcement officers, despite knowing the underlying ordinance made

exceptions for core political speech activities and knowing federal and state law protected

core political speech activities, arrested and charged Rench and the Bohnets under the

governing City health emergency order for not following the order’s mask wearing and social

distancing requirements. The Bohnets were also charged with refusing to identify

themselves. Just before their continuing prosecution went to trial, the City dismissed the

charges, but not before Rench and the Bohnets incurred some jail time, attorney fees, and

costs.

         Meanwhile, the City amended the ordinance governing public health emergencies and

deleted exceptions of the initial ordinance that had previously protected core political speech

activities. Despite the amended health emergency ordinance, Rench and the Bohnets intend

to continue their peaceful protests of the City’s restrictions and to continue to assemble to

exercise their religious beliefs.

         This lawsuit is a civil rights and declaratory judgment action. The City of Moscow

violated the First Amendment rights of Rench and the Bohnets. Law enforcement officers’

reckless indifference to the rights of Rench and the Bohnets resulted in their arrest and

detainment. And, with the City’s amendment to the initial ordinance excluding protected

core political activities, the ordinance is now violative of the First Amendment and should

be declared unconstitutional.

         In addition, the statute under which the Bohnets were charged for failing to identify

themselves while engaged in protected core political speech activities, Idaho Code § 18-705,

is unconstitutional under the Fourth Amendment because the Bohnets were not engaged in



                                                2
             Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 3 of 43




or suspected of committing a crime, and unconstitutional under the First Amendment for

governmental compelled speech. During a religious activity and protest, as protected First

Amendment activities, the government cannot compel a person to identify themselves to a

police officer, compromising their anonymity, when not engaged in criminal behavior.

        Rench and the Bohnets seek no less than nominal damages for the violation of their

constitutional rights and punitive damages for the reckless indifference to their protected

core political and religious rights. Furthermore, injunctive relief is appropriate to curtail the

reach of the amended ordinance so as not to prevent core political and religious activities.

                                    Jurisdiction and Venue

        1.       This Court has s jurisdiction under 28 U.S.C. § 1331 (federal-question

jurisdiction), 28 U.S.C. § 2201 (declaratory-judgment jurisdiction), and 42 USC §§ 1983, 1988

(civil-rights statutes).

        2.       Venue is proper in this Court under 28 U.S.C. § 1391 because the defendant

City of Moscow, Idaho, is a municipality and is a political subdivision of the State of Idaho

within this district, and because the events or omissions giving rise to the claims presented

occurred within this district.

                                             Parties

A. The Plaintiffs

        3.       Plaintiff Gabriel Rench is a resident of Moscow, Idaho. He protested by not

wearing a mask against an emergency health order, issued by the Mayor of Moscow, that

required the wearing of masks. Moscow law enforcement officers arrested Rench and

detained him. The previous arrest will not deter Rench from protesting again, and he intends



                                                 3
            Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 4 of 43




to protest again against the emergency health order by not wearing a mask. He is fearful of

being arrested, detained, and being prosecuted, causing him his loss of freedom and moneys

for attorneys, costs, or fines or other penalties because of the City’s health emergency

ordinance.

       4.       Plaintiff Sean Bohnet is a resident of Moscow, Idaho. He protested by not

wearing a mask against an emergency health order, issued by the Mayor of Moscow, that

required the wearing of masks. Moscow law enforcement officers arrested Bohnet and

detained him. The previous arrest will not deter Bohnet from protesting again, and he

intends to protest again against the emergency health order by not wearing a mask. He is

fearful of being arrested, detained, and being prosecuted, causing him his loss of freedom

and moneys for attorneys, costs, or fines or other penalties because of the City’s health

emergency ordinance.

       5.       Plaintiff Rachel Bohnet is a resident of Moscow, Idaho. She protested by not

wearing a mask against an emergency health order, issued by the Mayor of Moscow, that

required the wearing of masks. Moscow law enforcement officers arrested Bohnet and

detained her. The previous arrest will not deter her from protesting again, and she intends

to protest again against the emergency health order by not wearing a mask. She is fearful of

being arrested, detained, and being prosecuted, causing her loss of freedom and moneys for

attorneys, costs, or fines or other penalties because of the City’s health emergency ordinance.

B.     The Defendants

       6.       The Defendant City of Moscow is a political subdivision in the State of Idaho.

Moscow employs law enforcement officers to enforce the law including the City’s



                                               4
              Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 5 of 43




ordinances, in which, those officers are aware of the scope of their authority. They are also

knowledgeable of the First Amendment rights afforded to and protectable to Moscow

residents.

         7.       The Defendant City Supervisor Gary Riedner is an administrative official of

the City of Moscow. He is being sued individually and in his official capacity. As City

Supervisor, Riedner has personal knowledge of the laws of the City and of the State

regarding the protection of core political activities. Notably, Riedner has personal

knowledge of City ordinances, specifically, Chapter 11 governing emergency powers of the

Mayor’s executive office for emergency situations. He is also familiar with the exemptions of

City Code § 1-11-07 governing all expressive and associative activity, that unless specifically

prohibited in an issued Public Health Emergency Order, expressive and associative activities

were not subject to the Order at the time of the arrests of Plaintiffs Rench and the Bohnets.

         8.       The Defendant Mia Bautista is the City Attorney for the City of Moscow. She

is being sued individually and in her official capacity. As City Attorney, Bautista has personal

knowledge of the laws of the City and of the State regarding the protection of core political

activities. Notably, Bautista has personal knowledge of City ordinances, specifically, Chapter

11 governing emergency powers of the executive office for emergency situations. As City

Attorney, Bautista knew that under Section 1-11-07 of the Moscow City Code, the provision

listed the expressive and associative activities as excluded from any public health emergency

order:

         Unless otherwise specifically prohibited by a Public Health Emergency Order duly enacted
         by the Mayor, the following activities shall be exempt from the scope of such order:




                                                 5
            Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 6 of 43




                1. Any and all expressive and associative activity that is protected by the United States
                   and Idaho Constitutions, including speech, press, assembly, and/or religious activity.
                   (Emphasis added).

       9.       Bautista knew the exemptions of City Code § 1-11-07 governing all expressive

and associative activity, that unless specifically prohibited in an issued Public Health

Emergency Order, expressive and associative activities were not subject to the Order in

effect at the time of the arrests of Plaintiffs Rench and the Bohnets.

       10.      The Defendant James Fry is the Chief of Police for the City of Moscow,

Idaho. He is being sued individually and in his official capacity as the chief law enforcement

officer with the City of Moscow. As a law enforcement officer, he has personal knowledge

of the laws he is to enforce and the rights of the citizens he arrests. For instance, in March of

2020, Chief Fry knew the Moscow Mayor issued a health emergency order under his

emergency powers under the City Code. Chief Fry also knew that Moscow citizens have

protectable rights under the First Amendment, including the right to assemble, the right to

protest, and the right to exercise their religious beliefs among other protectable rights under

the U.S. Constitution, the Idaho Constitution, and the laws of the State of Idaho.

Specifically, Chief Fry knew that under Section 1-11-07 of the Moscow City Code, the

provision listed the expressive and associative activities as excluded from any public health

emergency order:

       Unless otherwise specifically prohibited by a Public Health Emergency Order duly enacted
       by the Mayor, the following activities shall be exempt from the scope of such order:

                    1. Any and all expressive and associative activity that is protected by the United States
                       and Idaho Constitutions, including speech, press, assembly, and/or religious activity.
                       (Emphasis added).




                                                     6
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 7 of 43




       11.    The Defendant Will Kasselt is a law enforcement officer with the Moscow,

Idaho Police Department. He is being sued individually and in his official capacity as a law

enforcement officer with the City of Moscow. As a law enforcement officer, he has personal

knowledge of the laws he is to enforce and the rights of the citizens he arrests. For instance,

in March of 2020, Officer Kasselt, knew the Moscow Mayor issued a health emergency order

under his emergency powers under the City Code. Officer Kasselt also knew that Moscow

citizens have protectable rights under the First Amendment, including the right to assemble,

the right to protest, and the right to exercise their religious beliefs among other protectable

rights under the U.S. Constitution, the Idaho Constitution, and the laws of the State of

Idaho. Specifically, Kasselt knew that under Section 1-11-07 of the Moscow City Code, the

provision listed the expressive and associative activities as excluded from any public health

emergency order:

       Unless otherwise specifically prohibited by a Public Health Emergency Order duly enacted
       by the Mayor, the following activities shall be exempt from the scope of such order:

              1. Any and all expressive and associative activity that is protected by the United States
                 and Idaho Constitutions, including speech, press, assembly, and/or religious activity.
                 (Emphasis added).

       12.    The Defendant Jake Lee is a law enforcement officer with the City of

Moscow, Idaho Police Department. As a law enforcement officer, he has personal

knowledge of the laws he is to enforce and the rights of the citizens he arrests. For instance,

in March of 2020, Officer Lee, knew the Moscow Mayor issued a health emergency order

under his emergency powers under the City Code. Officer Lee also knew that Moscow

citizens have protectable rights under the First Amendment, including the right to assemble,

the right to protest, and the right to exercise their religious beliefs among other protectable


                                                   7
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 8 of 43




rights under the U.S. Constitution, the Idaho Constitution, and the laws of the State of

Idaho. Specifically, Lee knew that under Section 1-11-07 of the Moscow City Code, the

provision listed the expressive and associative activities as excluded from any public health

emergency order:

       Unless otherwise specifically prohibited by a Public Health Emergency Order duly enacted
       by the Mayor, the following activities shall be exempt from the scope of such order:

                      1. Any and all expressive and associative activity that is protected by the United
                         States and Idaho Constitutions, including speech, press, assembly, and/or
                         religious activity. (Emphasis added).

       13.    The Defendant Carlee Brown is a law enforcement officer with the City of

Moscow, Idaho Police Department. As a law enforcement officer, he has personal

knowledge of the laws he is to enforce and the rights of the citizens he arrests. For instance,

in March of 2020, Officer Brown, knew the Moscow Mayor issued a health emergency order

under his emergency powers under the City Code. Officer Brown also knew that Moscow

citizens have protectable rights under the First Amendment, including the right to assemble,

the right to protest, and the right to exercise their religious beliefs among other protectable

rights under the U.S. Constitution, the Idaho Constitution, and the laws of the State of

Idaho. Specifically, Brown knew that under Section 1-11-07 of the Moscow City Code, the

provision listed the expressive and associative activities as excluded from any public health

emergency order:

       Unless otherwise specifically prohibited by a Public Health Emergency Order duly enacted
       by the Mayor, the following activities shall be exempt from the scope of such order:

              1. Any and all expressive and associative activity that is protected by the United States
                 and Idaho Constitutions, including speech, press, assembly, and/or religious activity.
                 (Emphasis added).



                                                   8
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 9 of 43




       14.     The Defendant Elizabeth Warner is the prosecuting attorney for the City of

Moscow, Idaho. As the prosecuting attorney, Warner is responsible for preliminary

investigations to establish probable cause and to pursue criminal prosecutions. As City

Attorney, Warner knew the Moscow Mayor issued a health emergency order under his

emergency powers under the City Code. Warner also knew that the governing Emergency

Health Ordinance explicitly announced exceptions regarding First Amendment protectable

rights and of Idaho Statutes § 73-402 expressly preserving the free exercise of religion.

Warner also knew that Moscow citizens have protectable rights under the First Amendment,

including the right to assemble, the right to protest, and the right to exercise their religious

beliefs among other protectable rights under the U.S. Constitution, the Idaho Constitution,

and the laws of the State of Idaho. Specifically, Warner knew that under Section 1-11-07 of

the Moscow City Code, the provision listed the expressive and associative activities as

excluded from any public health emergency order:

       Unless otherwise specifically prohibited by a Public Health Emergency Order duly enacted
       by the Mayor, the following activities shall be exempt from the scope of such order:

               1. Any and all expressive and associative activity that is protected by the United States
                  and Idaho Constitutions, including speech, press, assembly, and/or religious activity.
                  (Emphasis added).

       15.     Warner knew the exemptions of City Code § 1-11-07 governing all expressive

and associative activity, that unless specifically prohibited in an issued Public Health

Emergency Order, expressive and associative activities were not subject to the Order in

effect at the time of the arrests of Plaintiffs Rench and the Bohnets.




                                                    9
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 10 of 43




                                          Standing

       16.    An actual controversy exists between the parties, and the Plaintiffs Gabriel

Rench, Sean Bohnet, and Rachel Bohnet, have suffered an injury-in-fact which is directly

traceable to the Defendants City of Moscow, Gary Riedner, Mia Bautista, Elizabeth Warner,

Chief James Fry, Police Officer Will Krasselt, Police Officer Carlee Brown, and Police

Officer Jake Lee, individually or in concert with each other.

       17.    While engaging in First Amendment activities, Rench and the Bohnets were

arrested, jailed, and prosecuted for allegedly violating an emergency health order issued by

the Moscow Mayor under Chapter 11 of the City Code. The Order required social distancing

and mask wearing; however, the Ordinance under which the emergency health order was

issued made exceptions for protected First Amendment activities.

       18.    Rench and the Bohnets suffered damages from violations of their respective

protectable rights under the First Amendment when arrested by law enforcement officers

who knew core political speech activities and the exercise of religious beliefs were exempt

from prosecution under the Moscow City Code.

       19.    The Bohnets suffered damages when they were arrested under § 18-705,

because the statute is unconstitutional when people are engaged in core political activities

and exercising their religious beliefs as protected under the First and Fourteenth

Amendments unless reasonable suspicion of a crime or probable cause for a crime exists.

                                    Factual Background

       20.    On March 13, 2020, the Mayor of the City of Moscow, Bill Lambert, issued a

Local Emergency Proclamation declaring a local disaster emergency due to the occurrence



                                              10
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 11 of 43




and imminent threat to public health and safety arising from the effects of the 2019

coronavirus (COVID-19). This action was taken pursuant to Idaho Code § 46-1011.

       21.     The Moscow City Council, seven days after the issuance of the Mayor’s

declaration of a local disaster emergency, adopted Ordinance No. 2020-03, that provided for

a new chapter to Moscow’s City Code entitled “Emergency Powers.” Moscow, Idaho,

Ordinance No. 2020-03 (Mar. 20, 2020).

       22.     Chapter 11, codified and provided for the Mayor of Moscow with emergency

powers to respond to “emergency situations,” providing the procedures for “activating the

emergency powers of the Mayor and the specific powers of the Mayor during a public health

emergency.” Moscow, Idaho, Code § 1-11-03 (2020). Under § 1-11-05, the Mayor is

authorized to issue advisory orders, social distancing orders, or isolation orders. Moscow,

Idaho, Code § 1-11-05 A., B., C. (2020). “When summarily enacting a Public Health

Emergency Order, the Mayor shall prepare a written order and publish it” as prescribed

under § 1-11-06 C. Moscow, Idaho, Code § 1-11-06 A., C. (2020).

       23.     An issued Public Health Emergency Order becomes effective immediately

upon publication and shall not be continued or renewed for a period in excess of seven days

except by or with the consent of the Moscow City Council through a resolution. § 1-11-06

C. Moscow, Idaho, Code § 1-11-06 B. (2020). Section 1-11-07 listed the activities excluded

from any public health emergency order: Unless otherwise specifically prohibited by a Public Health

Emergency Order duly enacted by the Mayor, the following activities shall be exempt from

the scope of such order:




                                                11
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 12 of 43




               1. Any and all expressive and associative activity that is protected by the United States
                  and Idaho Constitutions, including speech, press, assembly, and/or religious activity.
                  (Emphasis added).

               2. Educational institutions and airports, which shall follow the duly adopted
                  policies of their respective governing bodies.

               3. Activities necessary to operate critical infrastructure and services.

               4. Activities necessary to operate and use medical facilities and services.

               5. Activities necessary to buy, sell, or otherwise deliver food or necessities
                  purchased in or at grocery or convenience stores, gas stations, and
                  pharmacies.

Emphasis added.

       24.     Section 1-11-10 also prescribes the penalty for violating “any provision or

directive of a duly enacted social distancing order, isolation order, or quarantine order while

such order is in effect.” Any violation of any order is a misdemeanor. Moscow, Idaho, Code

§ 1-11-10 (2020).

       25.     The Moscow Mayor issued an Amended Public Health Emergency Order on

July 1, 2020, effective on July 2, 2020.

       26.     The Moscow City Council, by resolution, consented to the July 1, 2020, Public

Health Emergency Order through a resolution dated July 6, 2020, extending the effect of the

Order to August 4, 2020.

       27.     The Moscow City Council then extended the July 1, 2020 Public Health

Emergency Order from August 4, 2020, to October 6, 2020.

       28.     Moscow officials, such as the Mayor, Chief of Police, Police Department

officers, and the City Attorneys have knowledge of the city ordinances for which they are

entrusted to enforce or uphold.


                                                   12
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 13 of 43




       29.      The Moscow Chief of Police, Police Department officers, and the City

Attorneys are also aware of and have knowledge of state laws that affect the rights of citizens

and other laws they are entrusted to enforce or uphold.

       30.      The Moscow Chief of Police, Police Department officers, and the City

Attorneys are also aware of and have knowledge of rights embodied within the U.S.

Constitution and the Idaho Constitution that affect the rights of citizens and other laws they

are entrusted to enforce or uphold.

       31.      On July 1, 2020, the Mayor issued Amended Public Health Emergency Order

20-03. The order states:

             1. Every person in the city of Moscow must wear a face covering that
                covers their nose and mouth when in any indoor or outdoor public
                setting where the 6-foot physical distancing is not able to be
                maintained with non-household members, except as
                follows…[exceptions listed]

             2. Every Person in the city of Moscow, when in places that are open to
                the public, shall maintain 6-foot physical distancing from a non-
                household member, whenever possible.

       32.      The July order did not specifically prohibit wearing a mask or social distancing

at “[a]ny and all expressive and associative activity that is protected by the United States and

Idaho Constitutions, including speech, press, assembly, and/or religious activity,” (nor any

other exclusion) as required under Moscow, Idaho, Code § 1-11-07 (2020).

       33.      Meanwhile, Christ Church in Moscow, Idaho organized a religious assembly to

sing praise to their God in a “Psalm Sing” in front of the Moscow City Hall to protest the

mask mandate in the Amended Public Health Emergency Order on Wednesday, September

23, 2020.



                                               13
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 14 of 43




       34.    The September 23, 2020 religious assembly and protest was not the first of its

kind since the issuance of the Mayor’s Emergency Order. Christ Church had organized

similar events such as what had occurred in Moscow’s downtown Friendship Square.

       35.    Notably, the September 23, 2020 religious assembly and protest occurred after

two to three hours of public testimony was given before the Moscow City Council on

September 21, 2020, against the Council’s intended vote to affirm the extension of the

Mayor’s Emergency Order.

       36.    Moscow Mayor Bill Lambert and Moscow City Attorney Mia Bautista received

a complaint from a citizen about the religious assembly at City Hall to protest mask wearing.

The complaint noted the pastor of Christ Church, Douglas Wilson, requested attendees to

not wear masks.

       37.    Police Chief James Fry informed his officers in the morning of September 23,

2020 of the “Anti-Mask” gathering planned at the Moscow City Hall and the scheduled time

of the protest at 4:45 p.m.

       38.    Police Chief James Fry, Captain Tyson Berret, Officer Will Krasselt, City

Attorney Mia Bautista, and City Supervisor Gary Riedner met to discuss the assembly and

protest. Officer Krasselt had previously searched Facebook events for Moscow and

confirmed the assembly and protest would take place.

       39.    During the meeting, it was agreed that the City Hall parking lot would be

made available for the protest and city staff would paint markings in the lot for social

distancing purposes.




                                              14
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 15 of 43




       40.    At the time of the meeting all participants knew that Chapter 11 of the City

Code governed emergency powers of the Mayor’s executive office for emergency situations.

They also knew of the exemptions of City Code § 1-11-07 governing all expressive and

associative activity, that unless specifically prohibited in an issued Public Health Emergency

Order, were not subject to the Order. Yet, knowing the purpose of the religious assembly to

protest the executive order issued by Mayor Lambert, they painted circles on the parking lot

where the assembly was to occur on the pretext for social distancing.

       41.    Chief Fry, despite knowing the laws of the State of Idaho, the rights of

citizens under U.S. Constitution, and City Ordinances, specifically the ordinance governing

Public Health Emergency orders allowing for such core political activities, nevertheless

instructed his officers to cite individuals as they saw fit to cite who did not wear a mask or

socially distance while attending the religious assembly and protest.

       42.    Chief Fry, despite knowing the laws of the State of Idaho, the rights of

citizens under U.S. Constitution, and City Ordinances, specifically the ordinance governing

Public Health Emergency orders allowing for such core political activities, did not

discourage the citation of citizens attending the religious assembly and protest who did not

wear a mask or socially distance.

       43.    The religious assembly and protest eventually included over 200 people.

“Psalm Sing ends without incident.” Dennis, Ellen. Moscow-Pullman Daily News. 10.8.21.

https://dnews.com/coronavirus/psalm-sing-ends-without-incident/article_11608f00-412f-

5c6d-accd-fc85821e760f.html. Accessed 2.15.21.




                                               15
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 16 of 43




       44.    Moscow Police Officer Krasselt had determined as people arrived at the

religious assembly and protest that they would not be wearing a mask or social distancing.

       45.    Krasselt, standing in the parking lot, recognized Rench from an April, 2020

protest and City Council meeting and engaged Rench about the two people standing with

him.

       46.    Krasselt discovered Rench was with his mother. The other person was a non-

family member and told them to come with him so he could issue a citation for not social

distancing. Rench refused to show his identification for the citation and as a result was

arrested.

       47.    Plaintiffs Sean and Rachel Bohnet were also arrested at the same rally.

       48.    The religious assembly and protest had already begun. Moscow Police Officer

Brown approached a group of five people attending the protest. Brown spoke to Sean and

Rachel Bohnet asking them if they were family members to which they replied that they were

married. During this exchange, Brown had difficulty hearing the Bohnets responding to his

questions because of the loud singing of psalms by those who gathered at the religious

assembly and protest.

       49.    Brown then instructed the Bohnets to remove themselves from the other

three people. Brown told Sean Bohnet that the social distancing was “required by city code.”

Sean Bohnet “respectfully disagree[d].”

       50.    Brown would ask Sean and Rachel Bohnet for their identification and to

socially distance. Rachel complied and Brown accepted it. Sean did not comply with the

request. Rachel requested her identification back and the officer complied.



                                              16
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 17 of 43




       51.      Brown would then arrest the Bohnets for resisting and obstructing an officer

under Idaho Code § 18-705 and for violating the amended city order for failing to wear a

mask and for failing to social distance, citing M657-1-11-10.

       52.      After his arrest, Plaintiff Gabriel Rench hired legal counsel, expending

approximately $5,000 in attorney fees and costs to defend the criminal charges brought

against him.

       53.      After their arrest, the Plaintiffs Sean and Rachel Bohnet hired legal counsel,

expending approximately $7,700 in attorney fees and costs to defend against the criminal

charges brought against them.

       54.      The Defendant Elizabeth Warner, as the prosecuting attorney, was responsible

for preliminary investigations to establish probable cause and to pursue criminal

prosecutions.

       55.      As City Attorney, Warner knew the Moscow Mayor issued a health emergency

order under his emergency powers under the City Code. Warner also knew that the

governing Emergency Health Ordinance explicitly announced exceptions regarding First

Amendment protectable rights and of Idaho Statutes § 73-402 expressly preserving the free

exercise of religion.

       56.      Warner also knew that Moscow citizens have protectable rights under the First

Amendment, including the right to assemble, the right to protest, and the right to exercise

their religious beliefs among other protectable rights under the U.S. Constitution, the Idaho

Constitution, and the laws of the State of Idaho.




                                                17
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 18 of 43




       57.        Despite her knowledge of the law, Warner failed to investigate the facts

related to either Rench’s or the Bohnets’ arrest and instead concluded that they should be

prosecuted.

       58.        Three months later, on January 8, 2021, the Moscow City Attorney petitioned

the court to Dismiss Charges against Plaintiff Rench. The City Attorney specifically stated

that the Mayor’s “Emergency Order 20-03 does not specifically address ‘speech, press,

assembly and/or religious activities…’” but characterized it as a “technicality.”

       59.        On January 8, 2021, the Moscow City Attorney petitioned the court to

Dismiss Charges against the Plaintiffs Sean and Rachel Bohnet. The City Attorney

specifically stated that the Mayor’s “Emergency Order 20-03 does not specifically address

‘speech, press, assembly and/or religious activities…’” but characterized it as a

“technicality.”

       60.        Abridging protected constitutional rights is not a “technicality.”

       61.        Abridging state statutes protecting religion is not a “technicality.”

       62.        After the dismissals of the criminal charges of both Rench and the Bohnets,

the Moscow City Council would amend the Public Health Emergency Ordinance to remove

the exceptions protecting core political speech activities protected under the U.S. and Idaho

Constitutions. It did not exclude Idaho Statutes § 73-402 governing the protection of the

free exercise of religion.




                                                  18
            Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 19 of 43




                                           COUNT I

                          First Amendment Right to Free Speech

        63.     The Plaintiffs Gabriel Rench, Sean Bohnet, and Rachel Bohnet incorporate all

previous paragraphs as if fully restated to support the underlying claim of First Amendment

right to free speech.

        64.     The First Amendment protects the right of free speech. U.S. Const. amend. I.

        65.     Moscow Ordinance 1-11-07 specifically excluded from any Public Health

Emergency Order duly enacted by the Mayor “any and all expressive and associative activity

that is protected by the United States and Idaho Constitutions, including speech, press,

assembly, and/or religious activity.”

        66.     On July 1, 2020, the Moscow Mayor issued and amended Public Health

Emergency Order.

        67.     The City’s September amended Public Health Emergency Order did not

specifically prohibit any and all expressive and associative activity that is protected by the

United States and Idaho Constitutions, including speech, press, assembly, and/or religious

activity.

        68.     City officials, including the Mayor, City Attorney, the Moscow Police Chief,

and Moscow Police Officers knew the city’s ordinance 1-11-07 specifically excluded from

any Public Health Emergency Order duly enacted by the Mayor “any and all expressive and

associative activity that is protected by the United States and Idaho Constitutions, including

speech, press, assembly, and/or religious activity.”




                                               19
            Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 20 of 43




        69.     City officials, including the Mayor, City Attorney, the Moscow Police Chief,

and Moscow Police Officers knew that the amended Public Health Emergency Order did

not specifically prohibit any and all expressive and associative activity that is protected by the

United States and Idaho Constitutions, including speech, press, assembly, and/or religious

activity.

        70.     The First Amendment protects core political activities.

        71.     Peaceful protests are core political activities.

        72.     Rench and the Bohnets participated in the peaceful protest held at the

Moscow City Hall on September 23, 2020 against the Mayor’s July 2020 Amended Public

Health Emergency Order.

        73.     Rench and the Bohnets attended the religious assembly to sing psalms and to

protest the July Order’s mandate to wear masks and to social distance.

        74.     Rench and the Bohnets did not wear masks or social distance at the religious

assembly as a means to protest the July Amended Public Health Emergency Order.

        75.     While at the religious assembly at the Moscow City Hall on September 23,

2020, and protesting the July Amended Public Health Emergency Order, Rench and the

Bohnets were arrested and detained.

        76.     Moscow Police Officers, Brown, Lee, and Krasselt, arrested Rench and the

Bohnets knowing that they were exercising their protected rights to attend a religious

assembly and to protest under the U.S. Constitution, state law, governing city ordinances,

and the Mayor’s Emergency Health Order.




                                                 20
           Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 21 of 43




       77.     The basis for their arrests was because they neither wore a mask nor socially

distanced.

       78.     Rench and the Bohnets were arrested and detained even though Moscow

Ordinance § 1-11-07 exempted “any and all expressive and associative activity that is

protected by the United States and Idaho Constitutions, including speech, press, assembly,

and/or religious activity.”

       79.     The arrests involved a reckless indifference to the federally protected rights of

Rench and the Bohnets as identified and further protected under the Moscow Ordinance §

1-11-07.

       80.     Meanwhile, Elizabeth Warner as the prosecuting attorney for the City of

Moscow failed to do preliminary investigations to establish probable cause and to pursue

criminal prosecutions. As City Attorney, Warner knew the Moscow Mayor issued a health

emergency order under his emergency powers under the City Code. Warner also knew that

the governing Emergency Health Ordinance explicitly announced exceptions regarding First

Amendment protectable rights and of Idaho Statutes § 73-402 expressly preserving the free

exercise of religion.

       81.     Warner also knew that Moscow citizens have protectable rights under the First

Amendment, including the right to assemble, the right to protest, and the right to exercise

their religious beliefs among other protectable rights under the U.S. Constitution, the Idaho

Constitution, and the laws of the State of Idaho.

       82.     Yet, Warner allowed the criminal prosecutions to proceed for three months

before filing motions to dismiss with the Idaho district court for the County of Latah.



                                               21
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 22 of 43




       83.     As a result of their arrest, Rench and the Bohnets expended moneys for

counsel in preparation for their criminal prosecution.

       84.     Where a party’s constitutional rights have been violated, an award of at least

nominal damages is mandatory.

       85.     As a result of their arrests, Rench and the Bohnets are entitled to recover

compensatory damages because they were denied their constitutional right to free speech.

       86.     Punitive damages are also available as a result of the reckless conduct of city

officials through the arrest of Rench and the Bohnets for denying their protected right of

free speech.

       87.     Rench and the Bohnets are also entitled to all attorney fees, costs, and

expenses as allowed under this 42 U.S.C. § 1983 action as applicable under § 1988 and all

other relief this Court deems just.

                                          COUNT II

                    First Amendment Right of Expressive Association

       88.     The Plaintiffs Gabriel Rench, Sean Bohnet, and Rachael Bohnet incorporate

all previous paragraphs as if fully restated to support the underlying claim of First

Amendment right to expressive association.

       89.     The First Amendment guarantees that “Congress shall make no

law…abridging the right of the people to peaceably assemble.” U.S. Const. Amend. I.

       90.     Moscow Ordinance 1-11-07 specifically excluded from any Public Health

Emergency Order duly enacted by the Mayor “any and all expressive and association activity




                                               22
            Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 23 of 43




that is protected by the United States and Idaho Constitutions, including speech, press,

assembly, and/or religious activity.”

        91.     On July 1, 2020, the Moscow Mayor issued and amended Public Health

Emergency Order.

        92.     The City’s September amended Public Health Emergency Order did not

specifically prohibit any and all expressive and associative activity that is protected by the

United States and Idaho Constitutions, including speech, press, assembly, and/or religious

activity.

        93.     City officials, including the Mayor, City Attorney, the Moscow Police Chief,

and Moscow Police Officers knew the city’s ordinance 1-11-07 specifically excluded from

any Public Health Emergency Order duly enacted by the Mayor “any and all expressive and

associative activity that is protected by the United States and Idaho Constitutions, including

speech, press, assembly, and/or religious activity.”

        94.     City officials, including the Mayor, City Attorney, the Moscow Police Chief,

and Moscow Police Officers knew that the amended Public Health Emergency Order did

not specifically prohibit any and all expressive and associative activity that is protected by the

United States and Idaho Constitutions, including speech, press, assembly, and/or religious

activity.

        95.     The First Amendment protects core political activities.

        96.     Expressive association is a core political activity.




                                                 23
           Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 24 of 43




       97.     Rench and the Bohnets participated in the peaceful protest with other like-

minded individuals held at the Moscow City Hall on September 23, 2020 against the Mayor’s

July 2020 Amended Public Health Emergency Order.

       98.     Rench and the Bohnets attended the religious assembly to sing psalms and to

protest with other like-minded individuals the July Order’s mandate to wear masks and to

social distance.

       99.     Rench and the Bohnets did not wear masks or social distance at the religious

assembly as a means to protest the July Amended Public Health Emergency Order. They

associated with others who also did not wear masks or socially distance as a means of

expression against the July Amended Public Health Emergency Order.

       100.    While at the religious assembly at the Moscow City Hall on September 28,

2020, and protesting the July Amended Public Health Emergency Order, Rench and the

Bohnets were arrested and detained.

       101.    The basis for their arrests was because they neither wore a mask nor socially

distanced.

       102.    Rench and the Bohnets were arrested and detained even though Moscow

Ordinance § 1-11-07 exempted “any and all expressive and associative activity that is

protected by the United States and Idaho Constitutions, including speech, press, assembly,

and/or religious activity.”

       103.    The arrests involved a reckless indifference to the federally protected rights of

Rench and the Bohnets as identified and further protected under the Moscow Ordinance §

1-11-07.



                                               24
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 25 of 43




       104.    Meanwhile, Elizabeth Warner as the prosecuting attorney for the City of

Moscow failed to do preliminary investigations to establish probable cause and to pursue

criminal prosecutions. As City Attorney, Warner knew the Moscow Mayor issued a health

emergency order under his emergency powers under the City Code. Warner also knew that

the governing Emergency Health Ordinance explicitly announced exceptions regarding First

Amendment protectable rights and of Idaho Statutes § 73-402 expressly preserving the free

exercise of religion.

       105.    Warner also knew that Moscow citizens have protectable rights under the First

Amendment, including the right to assemble, the right to protest, and the right to exercise

their religious beliefs among other protectable rights under the U.S. Constitution, the Idaho

Constitution, and the laws of the State of Idaho.

       106.    Yet, Warner allowed the criminal prosecutions to proceed for three months

before filing motions to dismiss with the Idaho district court for the County of Latah.

       107.    As a result of their arrest, Rench and the Bohnets expended moneys for

counsel in preparation for their criminal prosecution.

       108.    Where a party’s constitutional rights have been violated, an award of nominal

damages is mandatory.

       109.    As a result of their arrests, Rench and the Bohnets are entitled to recover

compensatory damages because they were denied their constitutional right of expressive

association.




                                              25
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 26 of 43




       110.    Punitive damages are also available as a result of the reckless conduct of city

officials through the arrest of Rench and the Bohnets for denying their protected right of

expressive association.

       111.    Rench and the Bohnets are also entitled to all attorney fees, costs, and

expenses as allowed under this 42 U.S.C. § 1983 action as applicable under § 1988 and all

other relief this Court deems just.

                                          COUNT III

  First Amendment Right to Petition the Government for the Redress of Grievances

       112.    The Plaintiffs Gabriel Rench, Sean Bohnet, and Rachel Bohnet incorporate all

previous paragraphs as if fully restated to support the underlying claim of First Amendment

right to petition the government for the redress of grievances to influence public policy.

       113.    The First Amendment guarantees each individual the right to associate for

expressive purposes, including the right to associate for purposes of petitioning the

government and influencing public policy. U.S. Const. Amend. I.

       114.    Moscow Ordinance 1-11-07 specifically excluded from any Public Health

Emergency Order duly enacted by the Mayor “any and all expressive and associative activity

that is protected by the United States and Idaho Constitutions, including speech, press,

assembly, and/or religious activity.”

       115.    On July 1, 2020, the Moscow Mayor issued and amended Public Health

Emergency Order.

       116.    The City’s September amended Public Health Emergency Order did not

specifically prohibit any and all expressive and associative activity that is protected by the



                                               26
            Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 27 of 43




United States and Idaho Constitutions, including speech, press, assembly, and/or religious

activity.

        117.    City officials, including the Mayor, City Attorney, the Moscow Police Chief,

and Moscow Police Officers knew the city’s ordinance 1-11-07 specifically excluded from

any Public Health Emergency Order duly enacted by the Mayor “any and all expressive and

associative activity that is protected by the United States and Idaho Constitutions, including

speech, press, assembly, and/or religious activity.”

        118.    City officials, including the Mayor, City Attorney, the Moscow Police Chief,

and Moscow Police Officers knew that the amended Public Health Emergency Order did

not specifically prohibit any and all expressive and associative activity that is protected by the

United States and Idaho Constitutions, including speech, press, assembly, and/or religious

activity.

        119.    The First Amendment protects core political activities.

        120.    Petitioning the government for the redress of grievances to influence public

policy is a core political activity.

        121.    Rench and the Bohnets participated in the peaceful protest with other like-

minded individuals held at the Moscow City Hall on September 23, 2020 against the Mayor’s

July 2020 Amended Public Health Emergency Order.

        122.    Rench and the Bohnets attended the religious assembly to sing psalms and to

protest with other like-minded individuals to voice their grievances to the government and

to influence public policy regarding the July Order’s mandate to wear masks and to social

distance.



                                               27
           Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 28 of 43




       123.    Rench and the Bohnets did not wear masks or social distance at the religious

assembly as a means to protest the July Amended Public Health Emergency Order. They

associated with others who also did not wear masks or socially distance as a means to voice

their grievances to the government and to influence public policy against the July Amended

Public Health Emergency Order.

       124.    While at the religious assembly at the Moscow City Hall on September 23,

2020, and protesting the July Amended Public Health Emergency Order, Rench and the

Bohnets were arrested and detained.

       125.    The basis for their arrests was because Rench and the Bohnets neither wore a

mask nor socially distanced.

       126.    Rench and the Bohnets were arrested and detained even though Moscow

Ordinance § 1-11-07 exempted “any and all expressive and associative activity that is

protected by the United States and Idaho Constitutions, including speech, press, assembly,

and/or religious activity.”

       127.    The arrests involved a reckless indifference to the federally protected rights of

Rench and the Bohnets as identified and further protected under the Moscow Ordinance §

1-11-07.

       128.    Meanwhile, Elizabeth Warner as the prosecuting attorney for the City of

Moscow failed to do preliminary investigations to establish probable cause and to pursue

criminal prosecutions. As City Attorney, Warner knew the Moscow Mayor issued a health

emergency order under his emergency powers under the City Code. Warner also knew that

the governing Emergency Health Ordinance explicitly announced exceptions regarding First



                                               28
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 29 of 43




Amendment protectable rights and of Idaho Statutes § 73-402 expressly preserving the free

exercise of religion.

       129.    Warner also knew that Moscow citizens have protectable rights under the First

Amendment, including the right to assemble, the right to protest, and the right to exercise

their religious beliefs among other protectable rights under the U.S. Constitution, the Idaho

Constitution, and the laws of the State of Idaho.

       130.    Yet, Warner allowed the criminal prosecutions to proceed for three months

before filing motions to dismiss with the Idaho district court for the County of Latah.

       131.    As a result of their arrest, Rench and the Bohnets expended moneys for

counsel in preparation for their criminal prosecution.

       132.    Where a party’s constitutional rights have been violated, an award of nominal

damages is mandatory.

       133.    As a result of their arrests, Rench and the Bohnets are entitled to recover

compensatory damages because they were denied their constitutional right to petition the

government for the redress of grievances to influence public policy.

       134.    Punitive damages are also available as a result of the reckless conduct of city

officials through the arrest of Rench and the Bohnets for denying their protected right to

petition the government for the redress of grievances to influence public policy.

       135.    Rench and the Bohnets are also entitled to all attorney fees, costs, and

expenses as allowed under this 42 U.S.C. § 1983 action as applicable under § 1988 and all

other relief this Court deems just.




                                               29
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 30 of 43




                                          COUNT IV

The First Amendment Protects the Free Exercise of Religion Which is also Codified
                         Under Idaho Statutory Law

       136.    The Plaintiffs Gabriel Rench, Sean Bohnet, and Rachel Bohnet incorporate all

previous paragraphs as if fully restated to support the underlying claim of First Amendment

right to the free exercise of religion.

       137.    The First Amendment guarantees that “Congress shall make no

law…abridging the right of the people to peaceably assemble.” U.S. Const. Amend. I.

       138.    The First Amendment guarantees each individual the right to associate for

expressive purposes, including the right to associate for purposes of petitioning the

government and influencing public policy. U.S. Const. Amend. I.

       139.    The free exercise of religion is a fundament right under the First Amendment.

U.S. Const. Amend. I.

       140.    The free exercise is also statutorily protected under Idaho Statute § 73-402:

           (1) Free exercise of religion is a fundamental right that applies in this state, even
               if laws, rules or other government actions are facially neutral.

           (2) Except as provided in subsection (3) of this section, government shall not
               substantially burden a person’s exercise of religion even if the burden results
               from a rule of general applicability.

           (3) Government may substantially burden a person’s exercise of religion only if it
               demonstrates that application of the burden to the person is both:

               (a) Essential to further a compelling governmental interest;
               (b) The least restrictive means of furthering that compelling governmental
                   interest.

       141.    Moscow Ordinance 1-11-07 specifically excluded from any Public Health

Emergency Order duly enacted by the Mayor “any and all expressive and associative activity


                                              30
            Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 31 of 43




that is protected by the United States and Idaho Constitutions, including speech, press,

assembly, and/or religious activity.”

        142.    On July 1, 2020, the Moscow Mayor issued and amended Public Health

Emergency Order.

        143.    The City’s September amended Public Health Emergency Order did not

specifically prohibit any and all expressive and associative activity that is protected by the

United States and Idaho Constitutions, including speech, press, assembly, and/or religious

activity.

        144.    City officials, including the Mayor, City Attorney, the Moscow Police Chief,

and Moscow Police Officers knew the city’s ordinance 1-11-07 specifically excluded from

any Public Health Emergency Order duly enacted by the Mayor “any and all expressive and

association activity that is protected by the United States and Idaho Constitutions, including

speech, press, assembly, and/or religious activity.”

        145.    City officials, including the Mayor, City Attorney, the Moscow Police Chief,

and Moscow Police Officers knew that the amended Public Health Emergency Order did

not specifically prohibit any and all expressive and associative activity that is protected by the

United States and Idaho Constitutions, including speech, press, assembly, and/or religious

activity.

        146.    The First Amendment protects the exercise of religion.

        147.    State statutory law expressly protects the free exercise of religion.

        148.    Rench and the Bohnets participated in the peaceful religious assembly to sing

psalms in protest led by their Pastor Douglas Wilson of the Christ Church held at the



                                                31
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 32 of 43




Moscow City Hall on September 23, 2020 against the Mayor’s July 2020 Amended Public

Health Emergency Order.

       149.    Rench and the Bohnets attended the religious assembly led by their Pastor

Douglas Wilson of the Christ Church to sing psalms and to protest with other like-minded

individuals to voice their grievances to the government and to influence public policy

regarding the July Order’s mandate to wear masks and to social distance.

       150.    Rench and the Bohnets did not wear masks or social distance at the religious

assembly as a means to protest the July Amended Public Health Emergency Order. They

associated with others who also did not wear masks or socially distance as a means to voice

their grievances to the government and to influence public policy against the July Amended

Public Health Emergency Order.

       151.    While at the Christ Church religious assembly at the Moscow City Hall on

September 28, 2020, and protesting the July Amended Public Health Emergency Order,

Rench and the Bohnets were arrested and detained.

       152.    Rench and the Bohnets were arrested and detained even though Moscow

Ordinance § 1-11-07 exempted “any and all expressive and associative activity that is

protected by the United States and Idaho Constitutions, including speech, press, assembly,

and/or religious activity.”

       153.    Rench and the Bohnets were arrested and detained even though the right to

freely exercise religion is protected under Idaho statutory law under § 73-402.

       154.    The basis for their arrests was because they neither wore a mask nor socially

distanced.



                                              32
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 33 of 43




       155.    The arrests and detention were an unnecessary substantial burden on the

Plaintiff’s constitutionally-protected free exercise of religion.

       156.    The arrests involved a reckless indifference to the constitutionally protected

rights of Rench and the Bohnets as identified and further protected under the Moscow

Ordinance § 1-11-07 and Idaho Statute § 73-402.

       157.    Meanwhile, Elizabeth Warner as the prosecuting attorney for the City of

Moscow failed to do preliminary investigations to establish probable cause and to pursue

criminal prosecutions. As City Attorney, Warner knew the Moscow Mayor issued a health

emergency order under his emergency powers under the City Code. Warner also knew that

the governing Emergency Health Ordinance explicitly announced exceptions regarding First

Amendment protectable rights and of Idaho Statute § 73-402 expressly preserving the free

exercise of religion.

       158.    Warner also knew that Moscow citizens have protectable rights under the First

Amendment, including the right to assemble, the right to protest, and the right to exercise

their religious beliefs among other protectable rights under the U.S. Constitution, the Idaho

Constitution, and the laws of the State of Idaho.

       159.    Yet, Warner allowed the criminal prosecutions to proceed for three months

before filing motions to dismiss with the Idaho district court for the County of Latah.

       160.    As a result of their arrest, Rench and the Bohnets expended moneys for

counsel in preparation for their criminal prosecution.

       161.    Where a party’s constitutional rights have been violated, an award of nominal

damages is mandatory.



                                                33
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 34 of 43




        162.    As a result of their arrests, Rench and the Bohnets are entitled to recover

compensatory damages because they were denied their constitutional right to freely exercise

their religious beliefs.

        163.    Punitive damages are also available as a result of the reckless conduct of city

officials through the arrest of Rench and the Bohnets for denying their protected right to

freely exercise their religious beliefs.

        164.    Rench and the Bohnets are also entitled to all attorney fees, costs, and

expenses as allowed under this 42 U.S.C. § 1983 action as applicable under § 1988 and all

other relief this Court deems just.

                                           COUNT V

         Idaho Code § 18-703 is Violative of the First and Fourth Amendments

        The government cannot compel a person to identify themselves when
        engaged in protected core political activities and religious assemblies
        when there is no reasonable suspicion or probable cause of a crime being
        committed.

        165.    The Plaintiffs Sean Bohnet and Rachel Bohnet incorporate all previous

paragraphs as if fully restated to support the underlying claim under the First and Fourth

Amendments.

        166.    The First Amendment protects a person’s right to free speech. U.S. Const.

amend. I.

        167.    Participating in core political activities are protections afforded under the First

Amendment.

        168.    The First Amendment guarantees that “Congress shall make no law…

abridging the right of the people to peaceably assemble.” U.S. Const. Amend. I.


                                                34
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 35 of 43




       169.   The First Amendment also protects a person’s right to petition the

government for the redress of grievances and to influence public policy.

       170.   The free exercise of religion is a fundament right under the First Amendment.

U.S. Const. Amend. I.

       171.   The free exercise is also statutorily protected under Idaho Statute § 73-402:

          (4) Free exercise of religion is a fundamental right that applies in this state, even
              if laws, rules or other government actions are facially neutral.

          (5) Except as provided in subsection (3) of this section, government shall not
              substantially burden a person’s exercise of religion even if the burden results
              from a rule of general applicability.

          (6) Government may substantially burden a person’s exercise of religion only if it
              demonstrates that application of the burden to the person is both:

              (a) Essential to further a compelling governmental interest;

              (b) The least restrictive means of furthering that compelling governmental
                  interest.

       172.   The Fourth Amendment protects a person’s right against unreasonable search

and seizure. U.S. Const. amend. IV.

       173.   Together, the First and Fourth Amendments create a right to anonymous

participation in First Amendment protected activities unless there is a reasonable suspicion

or probable cause to believe a crime has occurred.

       174.   Under Section 1-11-07 of the Moscow City Code, the provision listed

activities excluded from any public health emergency order:

       Unless otherwise specifically prohibited by a Public Health Emergency Order duly enacted
       by the Mayor, the following activities shall be exempt from the scope of such order:




                                               35
           Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 36 of 43




                     1. Any and all expressive and associative activity that is protected by the United
                        States and Idaho Constitutions, including speech, press, assembly, and/or
                        religious activity. (Emphasis added).

       175.     The issued City of Moscow Amended Emergency Order did not specifically

exclude activities identified under § 1-11-07, subdivision 1.

       176.     Moscow public officials and law enforcement knew that the issued City of

Moscow Amended Emergency Order did not specifically exclude activities identified under §

1-11-07, subdivision 1.

       177.     On September 23, 2020, the Bohnets attended and participated in a peaceful

religious assembly in protest against the City of Moscow’s Amended Public Health

Emergency Order.

       178.     The religious assembly singing Psalms was a legal activity.

       179.     The Bohnets participated in the religious assembly to sing Psalms.

       180.     The political protest against Moscow’s Emergency Order was a legal protest.

       181.     The political protest was peaceful and orderly.

       182.     The Bohnets participated in the protest and were peaceful and orderly.

       183.     The Bohnets did not cause any disruption.

       184.     The Bohnets did not engage in any fights with any other person attending the

protest.

       185.     The Bohnets did not sell illegal drugs or purchase illegal drugs or any other

kind of drug.

       186.     The Bohnets did not threaten any other person.




                                                   36
           Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 37 of 43




       187.    The Bohnets did not engage in any other illegal activity while attending the

religious assembly and protest.

       188.    The Bohnets were also aware that under Section 1-11-07 of the Moscow City

Code, the provision listed activities excluded from any public health emergency order:

       Unless otherwise specifically prohibited by a Public Health Emergency Order duly enacted
       by the Mayor, the following activities shall be exempt from the scope of such order:

                    1. Any and all expressive and associative activity that is protected by the United
                       States and Idaho Constitutions, including speech, press, assembly, and/or
                       religious activity. (Emphasis added).

       189.    The Bohnets knew of the Amended Emergency Order did not specifically

exclude the provisions listed under § 1-11-07.

       190.    While at the Christ Church religious assembly at the Moscow City Hall on

September 23, 2020, and protesting the Amended Public Health Emergency Order, the

Bohnets were arrested and detained.

       191.    Rachel Bohnet was arrested for “resisting and obstructing officers” pursuant

to Idaho Code § 18-705 because the arresting officer alleged that she refused to identify

herself.

       192.    Sean Bohnet was arrested for “resisting and obstructing officers” pursuant to

Idaho Code § 18-705 because the arresting officer alleged that he refused to identify himself.

       193.    The arresting officers knew there was no reasonable suspicion or probable

cause that the Bohnets were or had committed a crime.

       194.    Under Idaho state law, a person obstructs an officer when that person “resists,

delays, or obstructs any public officer, in the discharge, or attempt to discharge, of any duty

of his office.” Idaho Code § 18-705.


                                                  37
         Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 38 of 43




        195.   The government may not compel a person to identify himself or herself when

engaged in protected core political activities and religious assemblies when there is no

reasonable suspicion or probable cause of a crime being committed.

        196.   Idaho Code § 18-705 is unconstitutional as to anonymous participation in

First Amendment protected activities because it is not narrowly tailored to meet a

compelling state interest.

        197.   This unconstitutional aspect of Idaho Code § 18-705 is non-severable

rendering the whole of § 18-705 unconstitutional.

        198.   Idaho Code § 18-705 is without a written exception for anonymous

participation in First Amendment protected activities.

        199.   The Bohnets were arrested and detained even though Moscow Ordinance § 1-

11-07 exempted “any and all expressive and associative activity that is protected by the

United States and Idaho Constitutions, including speech, press, assembly, and/or religious

activity.”

        200.   The Bohnets were arrested and detained even though Moscow Ordinance § 1-

11-07 exempted “any and all expressive and associative activity that is protected by the

United States and Idaho Constitutions, including speech, press, assembly, and/or religious

activity.”

        201.   The Bohnets were arrested and detained even though the right to freely

exercise religion is protected under Idaho statutory law under § 73-402.

        202.   An arrest is unlawful unless there is probable cause to support the arrest.




                                              38
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 39 of 43




       203.   The arrests involved a reckless indifference to the federally protected rights of

the Bohnets to anonymous First Amendment participation as identified and further

protected under the Moscow Ordinance § 1-11-07, and Idaho Statute § 73-402.

       204.   Meanwhile, Elizabeth Warner as the prosecuting attorney for the City of

Moscow failed to do preliminary investigations to establish probable cause and to pursue

criminal prosecutions. As City Attorney, Warner knew the Moscow Mayor issued a health

emergency order under his emergency powers under the City Code. Warner also knew that

the governing Amended Emergency Health Ordinance did not specifically exclude the

provisions listed under § 1-11-07.

       205.   Section 1-11-07 of the Moscow City Code listed activities excluded from any

public health emergency order:

       Unless otherwise specifically prohibited by a Public Health Emergency Order duly enacted
       by the Mayor, the following activities shall be exempt from the scope of such order:

                    1. Any and all expressive and associative activity that is protected by the United
                       States and Idaho Constitutions, including speech, press, assembly, and/or
                       religious activity. (Emphasis added).

       206.   The provision referencing religious activity means it did not explicitly

announce exceptions regarding First Amendment protectable rights and of Idaho Statute §

73-402 expressly preserving the free exercise of religion.

       207.   Warner also knew that Moscow citizens have protectable rights under the First

Amendment, including the right to anonymously assemble, the right to anonymously protest,

and the right to anonymously exercise their religious beliefs among other protectable rights

under the U.S. Constitution, the Idaho Constitution, and the laws of the State of Idaho.




                                                  39
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 40 of 43




       208.   Yet, Warner allowed the criminal prosecutions to proceed for three months

before filing motions to dismiss with the Idaho district court for the County of Latah.

       209.   As a result of their arrest, the Bohnets expended moneys for counsel in

preparation for their criminal prosecution. Likewise, Gary Riedner, Mia Bautista, Chief

James Fry, Police Officer Will Krasselt, Police Officer Carlee Brown, and Police Officer Jake

Lee failed to do preliminary investigations to establish probable cause and to pursue criminal

prosecutions. As City officials and officials charged with the enforcement of the law, they

knew the Moscow Mayor issued a Health Emergency Order under his emergency powers

under the City Code. They also knew that the governing Amended Emergency Health

Ordinance did not specifically exclude the provisions listed under § 1-11-07.

       210.   Section 1-11-07 of the Moscow City Code, the provision listed expressive and

associative activities excluded from any public health emergency order:

       Unless otherwise specifically prohibited by a Public Health Emergency Order duly enacted
       by the Mayor, the following activities shall be exempt from the scope of such order:

                    1. Any and all expressive and associative activity that is protected by the United
                       States and Idaho Constitutions, including speech, press, assembly, and/or
                       religious activity. (Emphasis added).

       211.   This provision referencing religious activity means it did not explicitly

announce exceptions regarding First Amendment protectable rights and regarding Idaho

Statute § 73-402 which expressly preserves the free exercise of religion.

       212.   Where a party’s constitutional rights have been violated, an award of nominal

damages is mandatory.




                                                  40
        Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 41 of 43




       213.    As a result of their arrests, the Bohnets are entitled to recover compensatory

damages because they were denied their constitutional rights to anonymously participate in

First Amendment-protected activities.

       214.    Punitive damages are also available as a result of the reckless conduct of city

officials through the arrest of the Bohnets for denying their protected right to anonymous

participation in First Amendment-protected activities.

       215.    Rench and the Bohnets are also entitled to all attorney fees, costs, and

expenses as allowed under this 42 U.S.C. § 1983 action as applicable under § 1988 and all

other relief this Court deems just.

                                       Jury Demanded

       216.    The Plaintiffs Rench and the Bohnets demand a jury trial.

                                       Prayer for Relief

       Therefore, the Plaintiffs Gabriel Rench, Sean Bohnet, and Rachel Bohnet respectfully

ask that this Court:

       1.      To declare that their First Amendment right to free speech was violated;

       2.      To declare that their First Amendment right to expressive association was

               violated;

       3.      To declare that their First Amendment right to petition the government for

               the redress of grievances was violated;

       4.      To declare that their First Amendment right to exercise religion was violated;

       5.      To declare that their right to exercise religion under Idaho Statute § 73-402

               was violated;



                                               41
 Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 42 of 43




6.    To declare that Sean Bohnet’s and Rachel Bohnet’s right not to identify

      themselves when exercising their First Amendment rights was violated under

      the First and Fourth Amendments;

7.    To declare that Idaho Code § 18-705 is unconstitutional as to anonymous

      participation in First Amendment-protected activities because it is not

      narrowly tailored to meet a compelling state interest;

8.    Award the Plaintiffs nominal, compensatory, general and special damages for

      all violations under the First Amendment;

9.    Award the Plaintiffs Sean Bohnet and Rachel Bohnet nominal, compensatory,

      general and special damages for the violations they suffered under the Fourth

      Amendment;

10.   Award the Plaintiffs punitive damages under § 1983 for the reckless

      indifference of violating their protected First Amendment rights;

11.   Award the Plaintiffs Sean Bohnet and Rachel Bohnet punitive damages for the

      violation they suffered under the Fourth Amendment;

12.   Award the plaintiffs attorneys’ fees, costs, and expenses allowed under 42

      U.S.C. § 1988;

13.   Award the Plaintiffs damages and all costs, expenses, and expert witness fees

      allowed by law; and Award the plaintiffs such other and further relief as this

      Court deems just.




                                     42
       Case 3:21-cv-00138-BLW Document 1 Filed 03/24/21 Page 43 of 43




Dated: March 24, 2021                     _______________________________
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                                          forthcoming




                                     43
